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June 13, 2018

VIA ECF FILING AND FEDERAL EXPRESS
The Honorable Vanessa L. Bryant
United States District Court Judge
District of Connecticut
Abraham Ribicoff Federal Building
United States Courthouse
450 Main Street – Annex 135
Hartford, Connecticut 06103

Re:     Graduation Solutions LLC v. Acadima, LLC and Alexander Loukaides
        Index No. 3:17-cv-1342

Dear Judge Bryant:

This firm represents Plaintiff Graduation Solutions LLC (“Graduation Solutions”). We write this
letter to request a telephonic conference regarding a discovery dispute on the next available Friday,
between 2:00PM – 4:00PM, pursuant to Your Honor’s Rules.

Specifically, Defendant Alexander Loukaides (“Loukiadies”) has refused to proceed with any
discovery in this matter, including his deposition which was noticed by Plaintiff on April 20, 2018.
Defendant Loukaides also improperly filed a Motion for a Protective Order (ECF Doc. No. 47)
without first requesting a telephonic conference with the Court pursuant to Your Honor’s rules. By his
motion, Defendant Loukaides seeks to “quash the deposition until after the Court has decided whether
it has personal jurisdiction over Loukaides.” (Id.)

In this regard, there were two motions which are relevant to this application: (1) a motion to dismiss
filed by Defendant Acadima, LLC (ECF Doc. No. 34) and (2) a motion to dismiss filed by Loukiadies
(ECF Doc. No. 36). It is the position of Graduation Solutions that Your Honor’s Order (ECF Doc. No.
44) was intended to deny both motions. As such, Your Honor set forth an Amended Scheduling Order
(ECF Doc. No. 45).

Accordingly, Plaintiff seeks the guidance of the Court with respect to proceeding with obtaining
discovery from Defendant Loukaides so that discovery can be completed in accordance with the dates
set by the Court in to Your Honor’s Amended Scheduling Order (ECF Doc. No. 45).




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Thank you for your consideration of this matter.

Respectfully submitted,


Jonathan B. Nelson
JBN/abr



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